                    Case 19-40829               Doc 1        Filed 05/17/19 Entered 05/17/19 15:41:57                              Desc Main         5/17/19 2:38PM
                                                               Document     Page 1 of 12
Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF MASSACHUSETTS

Case number (if known)                                                        Chapter you are filing under:

                                                                                 Chapter 7
                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                       Check if this an
                                                                                                                                  amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                     12/17
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Richard                                                         Pamela
     your government-issued        First name                                                      First name
     picture identification (for
     example, your driver's        C.                                                              M.
     license or passport).         Middle name                                                     Middle name
     Bring your picture
     identification to your
                                   Nadeau                                                          Nadeau
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                        Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-0767                                                     xxx-xx-5410
     Individual Taxpayer
     Identification number
     (ITIN)




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Debtor 1   Richard C. Nadeau
Debtor 2   Pamela M. Nadeau                                                                           Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EINs                                                          EINs




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 23 Hudson Street
                                 Methuen, MA 01844
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Essex
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                         Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                        I have lived in this district longer than in any               have lived in this district longer than in any other
                                        other district.                                                district.

                                        I have another reason.                                         I have another reason.
                                        Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




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Debtor 1    Richard C. Nadeau
Debtor 2    Pamela M. Nadeau                                                                              Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7
                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




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Debtor 1    Richard C. Nadeau
Debtor 2    Pamela M. Nadeau                                                                               Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
    Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
    Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
    you a small business           in 11 U.S.C. 1116(1)(B).
    debtor?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11
                                      No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).
                                               Code.

                                      Yes.     I am filing under Chapter 11 and I am a small business debtor according to the definition in the Bankruptcy Code.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                           Number, Street, City, State & Zip Code




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Debtor 1    Richard C. Nadeau
Debtor 2    Pamela M. Nadeau                                                                           Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




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Debtor 1    Richard C. Nadeau
Debtor 2    Pamela M. Nadeau                                                                              Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”
                                               No. Go to line 16b.

                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.
                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you                                                            5001-10,000                                   50,001-100,000
    owe?                            50-99
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to                                                          $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    be worth?                       $50,001 - $100,000
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                               $10,000,001 - $50 million                     $1,000,000,001 - $10 billion
    to be?
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Richard C. Nadeau                                             /s/ Pamela M. Nadeau
                                 Richard C. Nadeau                                                 Pamela M. Nadeau
                                 Signature of Debtor 1                                             Signature of Debtor 2

                                 Executed on     May 17, 2019                                      Executed on     May 17, 2019
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




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Debtor 1   Richard C. Nadeau
Debtor 2   Pamela M. Nadeau                                                                               Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ John E. Mahoney                                                Date         May 17, 2019
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                John E. Mahoney 637675
                                Printed name

                                Law Offices of John E. Mahoney
                                Firm name

                                2 Punchard Avenue
                                Andover, MA 01810
                                Number, Street, City, State & ZIP Code

                                Contact phone     978-557-5755                               Email address         john@lojem.com
                                637675 MA
                                Bar number & State




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                                                               United States Bankruptcy Court
                                                                     District of Massachusetts
            Richard C. Nadeau
 In re      Pamela M. Nadeau                                                                     Case No.
                                                                                 Debtor(s)       Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



 Date: May 17, 2019                                                   /s/ Richard C. Nadeau
                                                                      Richard C. Nadeau
                                                                      Signature of Debtor

 Date: May 17, 2019                                                   /s/ Pamela M. Nadeau
                                                                      Pamela M. Nadeau
                                                                      Signature of Debtor




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                      American Home Care Specialists
                      P.O. Box 89
                      Stoneham, MA 02180

                      Arbella Insurance
                      P.O. Box 55392
                      Boston, MA 02205

                      BR Balanced Health Care Receivables
                      P.O. Box 9577
                      Manchester, NH 03108

                      Capital One
                      Attn: Bankruptcy
                      P.O. Box 30285
                      Salt Lake City, UT 84130

                      Capital One, N.A.
                      120 Corporate Blv, Ste 1
                      Norfolk, VA 23502

                      Care Credit
                      5757 Phantom Dr, Ste 225
                      Hazelwood, MO 63042

                      Comcast
                      P.O. Box 196
                      Newark, NJ 07101-0196

                      Commenity Bank / PayPal
                      P.O. Box 5138
                      Lutherville Timonium, MD 21094

                      Commonwealth Radiology
                      P.O. Box 29
                      Lewiston, ME 04243

                      Credit Collection Services
                      Attn: Bankruptcy
                      725 Canton Street
                      Norwood, MA 02062

                      Credit One
                      P.O. Box 1269
                      Greenville, SC 29602

                      Credit Protection Association LP
                      13355 Noel Rd, Ste 2100
                      Dallas, TX 75240

                      Eastern Bank
                      Customer Service Center
                      P.O. Box 391
                      Lynn, MA 01903-0491
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                  Eversource
                  247 Station Drive
                  Westwood, MA 02090

                  EZ-Pass
                  54 Regional Drive
                  Concord, NH 03301

                  Gragil Associates, Inc.
                  P.O. Box 1010
                  Pembroke, MA 02359

                  IC Systems Inc.
                  P.O. Box 64378
                  Saint Paul, MN 55164

                  Internal Revenue Service
                  P.O. Box 7346
                  Philadelphia, PA 19101-7346

                  JN Portfolio Debt Equities, LLC
                  Attn: Bankruptcy
                  5757 Phantom Dr. Ste 225
                  Hazelwood, MO 63042

                  Kohls/Capital One
                  Attn: Bankruptcy
                  P.O. Box 30285
                  Salt Lake City, UT 84130

                  Lahey Health
                  P.O. Box 981029
                  Boston, MA 02298-1029

                  LVNV Funding/Resurgent Capital
                  Attn: Bankruptcy
                  P.O. Box 10497
                  Greenville, SC 29603

                  Massachusetts Department of Revenue
                  Bankruptcy Unit
                  P.O. Box 9564
                  Boston, MA 02114-9564

                  Michael Branco
                  15 Harrison Avenue
                  Peabody, MA 01960

                  National Grid
                  P.O. Box 9035
                  Addison, TX 75001

                  National Grid
                  P.O. Box 29791
                  New York, NY 10087
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                  National Grid
                  P.O. Box 11735
                  Newark, NJ 07101

                  North Shore Cardiovascular
                  P.O. Box 9300
                  Providence, RI 02940

                  North Shore Medical Center
                  P.O. Box 417180
                  Boston, MA 02241

                  North Shore Oral Surgery Group
                  100 Highland Avenue
                  Salem, MA 01970

                  North Shore Physicians Group
                  P.O. Box 4873
                  Boston, MA 02241

                  Northeast Behavioral Health
                  199 Rosewood Drive, Ste. 250
                  Danvers, MA 01923

                  Partners Health Care
                  P.O. Box 418393
                  Boston, MA 02241

                  Peabody Podiatry
                  P.O. Box 14000
                  Belfast, ME 04915

                  Portfolio Recovery
                  P.O. Box 41021
                  Norfolk, VA 23541

                  Public Storage
                  240 Newbury Street
                  Peabody, MA 01960

                  Radius Global Solutions, LLC
                  P.O. Box 390846
                  Minneapolis, MN 55439

                  Ratcherd Law Group
                  54 Glen Maura National Blvd
                  Ste 104
                  Moosic, PA 18507

                  Saint Jeans Credit Union
                  370 Highland Avenue
                  Salem, MA 01970
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                  Salem Five Cents Savings Bank
                  210 Essex Street
                  Salem, MA 01970

                  Sprint Wireless
                  P.O. Box 4191
                  Carol Stream, IL 60197

                  Stevens Business Service
                  P.O. Box 1233
                  Lowell, MA 01853

                  Target
                  Attn: Bankruptcy
                  P.O. Box 9475
                  Minneapolis, MN 55440

                  TDBank
                  32 Chestnut Street
                  Lewiston, ME 04240

                  Trombly Brothers
                  141 Sutton Street
                  North Andover, MA 01845

                  U-Haul
                  2727 North Central Avenue
                  Phoenix, AZ 85004

                  Vengroff Williams Inc
                  PO Box 4155
                  Sarasota, FL 34230

                  Verizon
                  Verizon Wireless Bk Admin
                  500 Technology Dr Ste 550
                  Weldon Springs, MO 63304

                  Verizon Wireless
                  Attn: Verizon Wireless Bankruptcy Admini
                  500 Technology Dr, Ste 550
                  Weldon Spring, MO 63304

                  Xfinity Mobile
                  1701 John F Kennedy Blvd
                  Philadelphia, PA 19103
